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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
KENNETH DICKERSON,                  )
                                    )
            Plaintiff,              )
                                    )
      v.                            )                Civil Action No. 09-2213 (PLF)
                                    )
DISTRICT OF COLUMBIA,               )
                                    )
            Defendant.              )
____________________________________)


                               FINAL ORDER AND JUDGMENT

               For the reasons given in the Opinion issued this same day, it is hereby

               ORDERED that Defendant’s Motion for Summary Judgment [Dkt. No. 138] is

GRANTED; and it is

               FURTHER ORDERED that JUDGMENT is entered for the District of Columbia.

This is a final appealable order. See FED. R. APP. P. 4(a).

               SO ORDERED.


                                              _______________________________
                                                    /s/
                                              PAUL L. FRIEDMAN
                                              United States District Judge

DATE: March 3, 2022
